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                    EXHIBIT 7
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                   IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF OHIO
                             EASTERN DIVISION



   IN RE NATIONAL                          : MDL No. 2804
   PRESCRIPTION OPIATE                     : CASE NO. 17-MD-2804
   LITIGATION                              : (DAP)
                                           :



                 SECOND SUPPLEMENTAL EXPERT REPORT OF
                       CRAIG J. MCCANN, PH.D., CFA
                               April 15, 2019
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  I.       Qualifications and Remuneration
           1.     On March 25, 2019, I filed an Expert Report (the “McCann
  Report”) in this matter. My Qualifications and Remuneration are contained in
  the McCann Report §1 and are unchanged.

           A.     Materials Reviewed
           2.     The list of Materials Reviewed in preparing the McCann Report
  are contained in the McCann Report §2 and are unchanged except to add the
  following materials:

                  a. Administrative Memorandum of Agreement (between DEA
                      and Mallinckrodt);1

                  b. Second Amended Complaint, Cuyahoga County;

                  c. Third Amended Complaint, Summit County;

                  d. “chargeback” data identified in Appendix 2; and

                  e. IQVIA/IMS data identified below.

           B.     Assignment
           3.     I documented how I processed, validated and augmented opioid
  transaction data produced by the Drug Enforcement Administration (“DEA”)
  and by the Defendants, focused entirely on Distributor transactions in the
  McCann Report.

           4.     I have been asked to file this report (the “Second Supplemental
  McCann Report”) addressing transactions originating with Manufacturer



  1
      www.justice.gov/usao-edmi/press-release/file/986026/download
                                                 1
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  Defendants which ultimately led to opioid transactions with Dispensers in
  Cuyahoga County and Summit County.

         5.     I have now been asked by Counsel to document how I further
  processed and validated opioid transaction data produced by the DEA, to
  attribute transactions with Dispensers to Manufacturers in this Second
  Supplemental McCann Report.2

         6.     I have been asked to summarize transactions in the ARCOS Data,
  especially those transactions into Cuyahoga County and Summit County
  attributable to Manufacturer Defendants.

         7.     I have also been asked to report the results of applying certain
  algorithms to the ARCOS Data attributable to Manufacturer Defendants.

  II.    Summary of Opinions
         8.     I previously concluded that the ARCOS Data produced by the
  DEA reflecting opioid shipments from January 2006 through December 2014
  is reliable. I further concluded that the transaction records produced in
  discovery by the Distributor Defendants other than AmerisourceBergen are a
  reliable source of transactions data before 2006 and after 2014 for the varied
  time periods covered by the Distributor Defendants’ transactions productions.

         9.     In the next section, I explain how the ARCOS Data can be used
  to identify the Manufacturer for virtually all the transactions in the ARCOS
  Data. In Section IV and Section V, I report the results of attributing



  2
    On April 3, 2019, I filed a brief supplemental report (the “McCann Supplemental
  Report”) to insert some Figures and Tables which had been inadvertently excluded from
  the McCann Report.
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  transactions flagged by a non-exhaustive set of algorithms applied to the
  ARCOS Data in the McCann Report to Manufacturer Defendants.

  III.     Attributing Transactions With Dispensers to Manufacturers
           A.      ARCOS Data
                   1.     NDC Labeler Field
           10.     Drug packages are uniquely identified in the ARCOS Data by a
  National Drug Code, or NDC. The NDC has three segments, the first of which
  identifies the drug product’s Labeler which is typically but not always the
  drug’s         Manufacturer.3         For   example,                            identifies
                                        tablets manufactured by                         .

           11.




                                   .4


                                                .5

           12.     Each record for the                   transactions to Dispensers in
  Cuyahoga County and Summit County from 2006 to 2014 includes an NDC
  code.6


  3
   “NDC Dictionary Instructions,” Drug Enforcement Administration, October 2010.
  Current version available at https://www.deadiversion.usdoj.gov/arcos/ndc/readme.txt.
  4
      See McCann Report, §VIII.A, Table 16.
  5
      See McCann Report, §VIII.B, Table 20.
  6
      From this point forward, my analysis deals with twelve non-treatment opioids.
                                                     3
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        13.    I list the entries in the Labeler field for transactions with
  Dispensers in Cuyahoga County and Summit County sorted by MME in
  Appendix 1. The top 20 Labelers by MME
  MME shipped to Dispensers - in Cuyahoga County and Summit County are
  listed in Table 1.

  Table 1 Top 20 Labelers, Cuyahoga County and Summit County, ARCOS Data, 2006-
  2014.
         Rank Labeler Name                     MME    Perecent   Cumulative




        14.    A Manufacturer Defendant may manufacture an NDC-coded
  drug package but a different firm may be the package’s Labeler. The ARCOS
  Data allows us to more fully identify the Manufacturer of all NDC-coded drug
  packages shipped to a Dispenser in Cuyahoga County and Summit County by
  tracing the drug package upstream to the Manufacturer associated with that
  NDC as I explain next.



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                2.     Seller Business Activity
         15.    Each transaction in the ARCOS Data includes a Seller Business
   Activity field and a Buyer Business Activity field. Possible values in these
   fields include “Manufacturer”. Manufacturers can have more than one DEA
   number and can show up in some transactions as the Buyer and in some
   transactions as the Seller.

         16.    A Distributor reporting an opioid sale to a Dispenser purchased
   that drug either from another Distributor or from a Manufacturer.7 Both the
   Distributor selling to the Dispenser and the Distributor or Manufacturer it
   bought the drug from report a prior transaction in that NDC. This prior
   transaction will almost always be for a larger quantity than the transaction to
   an individual Dispenser since Distributors sell to multiple Dispensers.

         17.    Shipments to Dispensers in the ARCOS Data can be traced
   upstream to Manufacturers. The flow of an opioid to the Dispenser may pass
   through more than one Distributor and through more than one Manufacturer
   but ultimately there will be a Manufacturer that began the downstream flow
   of opioids ending at the Dispenser. Based on the ARCOS data, more than
          of the MME shipped to Dispensers in Cuyahoga County and Summit
   County travel down paths that originate upstream with a Manufacturer.8




   7




   8




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         B.     Chargeback Data
         18.    I received “chargeback” data produced by some Manufacturer
   Defendants. The chargeback data identifies drug by NDC, the Dispenser, the
   quantity sold and the price received. The chargeback data I have received only
   partially covers sales of these Manufacturer Defendants’ opioids.

         19.    The chargeback data I received shows patterns of shipments of
   drugs from Manufacturers all the way through to Dispensers. Assuming the
   limited chargeback data provided to me is typical in nature and scope of that
   available to the Manufacturers, the Manufacturer Defendants could have
   monitored orders from Dispensers, primarily retail and chain pharmacies, if
   they received chargeback data for all sales of all opioids they shipped to other
   Manufacturers and to Distributors.

         C.     IQVIA/IMS Data
         20.    The IQVIA/IMS Data I received from Counsel includes some
   patient information and detailed information including name and physical
   address of the prescribing physician. Assuming the IQVIA/IMS Data
   provided to me is typical in nature and scope to that which was available to
   Manufacturers, a Manufacturer Defendant could have known where some or
   all of its drugs were being prescribed.

         D.   Combining NDC, ARCOS Business Activity and
         Chargeback Data to Attribute Transactions with Dispensers to
         Manufacturers
         21.    I am able to identify those NDC for which a Manufacturer
   Defendant was the Labeler, was the Manufacturer or included the NDC code
   in its chargeback data for        of the opioid MME shipped to Dispensers in


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    Cuyahoga County and in Summit County as reflected in the ARCOS Data
    produced by the DEA for the period 2006-2014 as follows.

           22.    I first identify those NDCs that have a Manufacturer Defendant
    or a Manufacturer Defendant subsidiary as the Labeler. 9               of the opioid
    MME shipped to Dispensers in Cuyahoga County and Summit County
    involve NDCs for which a Manufacturer Defendant is the Labeler.

23. Next, I trace back through the transactions from Distributors to Dispensers in
    the ARCOS Data to the first reported transaction which could plausibly have
    led to the Distributor’s sale to a Dispenser. To make matters concrete, consider
    the series of ARCOS reported transactions listed in Figure 1.                   NDC
                   identifies
    manufactured by

    Figure 1 Example ARCOS Transactions Leading to Ohio Pharmacy




    9
     https://www.fda.gov/Drugs/DevelopmentApprovalProcess/UCM070829 According to
    FDA’s website, FDA assigns the Labeler code, and the product and package codes of the
    NDC are assigned by the Labeler.



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         24.             of the MME in transactions to Dispensers in Cuyahoga
   County and Summit County can be traced back to a Manufacturer that
   originated at least        of the MME in that NDC nationally. That is,
   independent of the Labeler information in the NDC code, the Manufacturer
   provenance of less than      of the MME in transactions in Cuyahoga County
   and Summit County is uncertain as a result of tracing the flow of opioids in
   the ARCOS Data.              of the MME in transactions to Dispensers in

   10




   11




   12




                                            8
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   Cuyahoga County and Summit County can be traced to a Manufacturer
   Defendant.

         25.    There are some instances, as in Figure 1 above, where the
   Manufacturer and the Labeler are different but both are Manufacturer
   Defendants. In other cases, either the Manufacturer or the Labeler – but not
   both – are Manufacturer Defendants.

   IV.   Manufacturer Attribution of Flagged Transactions
         A.     Maximum Monthly, Trailing Six-Month Threshold
         26.    As described in McCann Report, §IX.A




  County. McCann Report, ¶ 133.

         27.    Table 2 reports the result of attributing the flagged transactions
  in Cuyahoga County to Manufacturer Defendants that were either the Labeler,
  the Manufacturer or had included the NDC in its chargeback data. This
   analysis could be extended to earlier and later time periods with additional
   ARCOS data or using Defendant transaction data before 2006 or after 2014.




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   Table 2 Trailing Six-Month Maximum Threshold Flagged Transactions Attributed to
   Manufacturer Defendants, Cuyahoga County, 2006-2014




         28.    As described in McCann Report, §IX.A




   McCann Report, ¶ 134.

         29.    Table 3 reports the result of attributing the flagged transactions
   in Summit County to Manufacturer Defendants that were either the Labeler,
   the Manufacturer or included the NDC in its chargeback data.




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   Table 3 Trailing Six-Month Maximum Threshold Flagged Transactions Attributed to
   Manufacturer Defendants, Summit County, 2006-2014




          B.     Twice Trailing Twelve-Month Average Pharmacy Dosage
                13
          Units
          30.    As described in McCann Report, §IX.B




          31.




                              McCann Report, ¶ 137.




   13
      In the McCann Report, I reported the result of comparing transactions with Dispensers
   to two times, and three times, transactions with similar pharmacies nationally. I do not
   apply those approaches in this supplement, in part, because of the additional complexity
   of identifying the Manufacturer for every NDC code throughout the Country as opposed
   to just in Cuyahoga County and Summit County.
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         32.    Table 4 reports the result of attributing the flagged transactions
   in Cuyahoga County to Manufacturer Defendants that were either the Labeler,
   the Manufacturer or included the NDC in its chargeback data.

   Table 4 Twice Trailing Twelve-Month Average Pharmacy Dosage Units Threshold
   Flagged Transactions Attributed to Manufacturer Defendants, Cuyahoga County, 2006-
   2014




         33.    As described in McCann Report, §IX.B




         34.




                     McCann Report, ¶ 138.

         35.    Table 5 reports the result of attributing the flagged transactions
  in Summit County to Manufacturer Defendants that were either the Labeler,
  the Manufacturer or included the NDC in its chargeback data.
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   Table 5 Twice Trailing Twelve-Month Average Pharmacy Dosage Units Threshold
   Flagged Transactions Attributed to Manufacturer Defendants, Summit County, 2006-2014




         C.   Three Times Trailing Twelve-Month Average Pharmacy
         Dosage Units
         36.    As described in McCann Report, §IX.C




                                                                             McCann
   Report, ¶ 141.

         37.    Table 6 reports the result of attributing the flagged transactions
   in Cuyahoga County to Manufacturer Defendants that were either the Labeler,
   the Manufacturer or included the NDC code in its chargeback data.




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   Table 6 Three Times Trailing Twelve-Month Average Pharmacy Dosage Units Threshold
   Flagged Transactions Attributed to Manufacturer Defendants, Cuyahoga County, 2006-
   2014




         38.    As described in McCann Report, §IX.C




                                                                           McCann
   Report, ¶ 142.

         39.     Table 7 reports the result of attributing the flagged transactions
   in Summit County to Manufacturer Defendants that were either the Labeler,
   the Manufacturer or included the NDC code in its chargeback data.




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   Table 7 Three Times Trailing Twelve-Month Average Pharmacy Dosage Units Threshold
   Flagged Transactions Attributed to Manufacturer Defendants, Summit County, 2006-2014




         D.     Maximum             Dosage Units Monthly
         40.    As described in McCann Report, §IX.D




            McCann Report, ¶ 145.

         41.    Table 8 reports the result of attributing the flagged transactions
   in Cuyahoga County to Manufacturer Defendants that were either the Labeler,
   the Manufacturer or had included the NDC in its chargeback data.




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   Table 8 Maximum             Dosage Units Monthly Threshold Flagged Transactions
   Attributed to Manufacturer Defendants, Cuyahoga County, 2006-2014




         42.    As described in McCann Report, §IX.D




   McCann Report, ¶ 146.

         43.    Table 9 reports the result of attributing the flagged transactions
   in Summit County to Manufacturer Defendants that were either the Labeler,
   the Manufacturer or had included the NDC in its chargeback data.




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   Table 9 Maximum             Dosage Units Monthly Threshold Flagged Transactions
   Attributed to Manufacturer Defendants, Summit County, 2006-2014




          E.    Maximum Daily Dosage Units
          44.   As described in McCann Report, §IX.E




                                                               McCann Report, ¶
   149.

          45.   Table 10 reports the result of attributing the flagged transactions
   in Cuyahoga County to Manufacturer Defendants that were either the Labeler,
   the Manufacturer or had included the NDC in its chargeback data.




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   Table 10 Maximum Daily Dosage Units Threshold Flagged Transactions Attributed to
   Manufacturer Defendants, Cuyahoga County, 2006-2014




          46.   As described in McCann Report, §IX.E




                                                              . McCann Report, ¶
   150.

          47.   Table 11 reports the result of attributing the flagged transactions
   in Summit County to Manufacturer Defendants who were either the Labeler,
   the Manufacturer or had included the NDC in its chargeback data.




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   Table 11 Maximum Daily Dosage Units Threshold Flagged Transactions Attributed to
   Manufacturer Defendants, Summit County, 2006-2014




   V.    Flagging Transactions Attributable to Manufacturer Defendants
         48.    In the previous section, I attributed transactions with Dispensers
   in Cuyahoga County and Summit County to Manufacturer Defendants and
   categorized transactions attributed to Manufacturer Defendants according to
   whether they were flagged or not flagged in the McCann Report.

         49.    An alternative approach applies the five flagging methods in the
   McCann Report to each Distributor-to-Dispenser transaction attributable to
   each Manufacturer Defendant.

         A.     Maximum Monthly, Trailing Six-Month Threshold
         50.    Under the first approach, I identify transactions that cause the
   number of dosage units to a Pharmacy in a calendar month attributable to a
   Manufacturer Defendant to exceed the highest number of dosage units to the
   same Pharmacy attributable to the same Manufacturer Defendant in any one
   of the six preceding calendar months. For example, if the number of dosage

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   units containing hydrocodone attributable to a Manufacturer Defendant to a
   Pharmacy in February, March, April, May, June, and July were
                                   respectively, a transaction in August would be
   flagged if it caused the number of dosage units containing hydrocodone to the
   Pharmacy attributable to the same Manufacturer Defendant to exceed             .
   Any reported transactions containing hydrocodone on that date and all
   reported transactions containing hydrocodone attributable to the Manufacturer
   Defendant to that Pharmacy thereafter are flagged.

           51.   In this approach, and the others implemented below, I have been
  asked by Counsel to assume that the Manufacturer Defendant could have
  developed intelligence on shipments of its drugs to Dispensers in Cuyahoga
  County and Summit County allowing it to flag suspect transactions. I have
  also been asked by Counsel to assume that the Manufacturer Defendant did
  not effectively investigate the flagged transactions and so every subsequent
  transaction of that drug code is also flagged because the Manufacturer
  Defendant had an unfulfilled obligation to detect and investigate the first
  flagged transaction.

           52.   Figure 2 illustrates total opioid transactions to retail and chain
  pharmacies in Cuyahoga County from 2006 to 2014 attributable to
  Manufacturer Defendants. The Trailing Six-Month Maximum Threshold
  methodology flags             of transactions accounting for          of dosage
  units,          of MME and             of drug weight shipped into Cuyahoga
  County.




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   Figure 2 Trailing Six-Month Maximum Threshold Flagged Transactions Attributed to
   Manufacturer Defendants, Cuyahoga County, 2006-2014




         53.    Figure 3 illustrates total opioid transactions to retail and chain
   pharmacies in Summit County from 2006 to 2014 attributable to Manufacturer
   Defendants. The Trailing Six-Month Maximum Threshold methodology flags
          of transactions accounting for          of dosage units,       of MME
   and         of drug weight shipped into Summit County.




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   Figure 3 Trailing Six-Month Maximum Threshold Flagged Transactions Attributed to
   Manufacturer Defendants, Summit County, 2006-2014




         54.    Table 12 and Table 13 summarize the transactions flagged based
   on the Trailing Six-Month Maximum Threshold Approach in Cuyahoga and
   Summit Counties.




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   Table 12 Trailing Six-Month Maximum Threshold Flagged Transactions Attributed to
   Manufacturer Defendants, Cuyahoga County, 2006-2014




   Table 13 Trailing Six-Month Maximum Threshold Flagged Transactions Attributed to
   Manufacturer Defendants, Summit County, 2006-2014




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         B.    Twice Trailing Twelve-Month Average Pharmacy Dosage
         Units

         55.   Figure 4 illustrates total opioid transactions to retail and chain
   pharmacies in Cuyahoga County from 2006 to 2014 attributable to
   Manufacturer Defendants. The Twice Trailing Twelve-Month Average
   Pharmacy Threshold methodology flags
                                                        of drug weight shipped
   into Cuyahoga County.

         56.   Figure 5 illustrates total opioid transactions to retail and chain
   pharmacies in Summit County from 2006 to 2014 attributable to Manufacturer
   Defendants. The Twice Trailing Twelve-Month Average Pharmacy Threshold
   methodology flags
                                   of drug weight shipped into Summit County.




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   Figure 4 Twice Trailing Twelve-Month Average Pharmacy Dosage Units Threshold
   Flagged Transactions Attributed to Manufacturer Defendants, Cuyahoga County, 2006-
   2014




   Figure 5 Twice Trailing Twelve-Month Average Pharmacy Dosage Units Threshold
   Flagged Transactions Attributed to Manufacturer Defendants, Summit County, 2006-2014




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         57.    Table 14 and Table 15 summarize the transactions flagged based
   on the Twice Trailing Twelve-Month Average Pharmacy Threshold
   methodology in Cuyahoga and Summit Counties.

   Table 14 Twice Trailing Twelve-Month Average Pharmacy Dosage Units Threshold
   Flagged Transactions Attributed to Manufacturer Defendants, Cuyahoga County, 2006-




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   Table 15 Twice Trailing Twelve-Month Average Pharmacy Dosage Units Threshold
   Flagged Transactions Attributed to Manufacturer Defendants, Summit County, 2006-2014




         C.   Three Times Trailing Twelve-Month Average Pharmacy
         Dosage Units
         58.    Figure 6 illustrates total opioid transactions to retail and chain
   pharmacies in Cuyahoga County from 2006 to 2014 attributable to
   Manufacturer Defendants. The Three Times Trailing Twelve-Month Average
   Pharmacy Threshold methodology flags
                                                        of drug weight shipped into
   Cuyahoga County.

          59.   Figure 7 illustrates total opioid transactions to retail and chain
   pharmacies in Summit County from 2006 to 2014 attributable to Manufacturer
   Defendants. The Three Times Trailing Twelve-Month Average Pharmacy
   Threshold methodology flags
                                              of drug weight shipped into Summit
   County.

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   Figure 6 Three Times Trailing Twelve-Month Average Pharmacy Dosage Units Threshold
   Flagged Transactions Attributed to Manufacturer Defendants, Cuyahoga County, 2006-
   2014




   Figure 7 Three Times Trailing Twelve-Month Average Pharmacy Dosage Units Threshold
   Flagged Transactions Attributed to Manufacturer Defendants, Summit County, 2006-2014




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         60.    Table 16 and Table 17 summarize the transactions flagged based
   on the Three Times Trailing Twelve-Month Average Pharmacy Threshold
   methodology in Cuyahoga and Summit Counties.

   Table 16 Three Times Trailing Twelve-Month Average Pharmacy Dosage Units Threshold
   Flagged Transactions Attributed to Manufacturer Defendants, Cuyahoga County, 2006-




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   Table 17 Three Times Trailing Twelve-Month Average Pharmacy Dosage Units Threshold
   Flagged Transactions Attributed to Manufacturer Defendants, Summit County, 2006-2014




          D.    Maximum             Dosage Units Monthly
          61.   I identify transactions that cause the number of dosage units to a
   Pharmacy in a calendar month attributable to Manufacturer Defendant to
   exceed         dosage units. As stated above, I have been asked by Counsel to
   assume that the Manufacturer did not effectively investigate the flagged
   transactions and so every subsequent transaction of that drug code is also
   flagged because the Manufacturer had an unfulfilled obligation to detect and
   investigate the first flagged transaction.

          62.    Figure 8 illustrates total opioid transactions into Cuyahoga
   County from ARCOS Data for 2006 to 2014 I attribute to a Manufacturer
   Defendant and the transactions flagged under the Maximum                   Dosage
   Units Monthly Threshold methodology. This methodology flags


   of drug weight shipped into Cuyahoga County.

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   Figure 8 Maximum          Dosage Units Monthly Flagged Transactions Attributed to
   Manufacturer Defendants, Cuyahoga County, 2006-2014




         63.    Figure 9 illustrates total opioid transactions into Summit County
   from ARCOS Data for 2006 to 2014 I attribute to a Manufacturer Defendant
   and the transactions flagged by the Maximum             Dosage Units Monthly
   Threshold methodology. This methodology flags
                                                                            of drug
   weight shipped into Summit County.




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   Figure 9 Maximum          Dosage Units Monthly Flagged Transactions Attributed to
   Manufacturer Defendants, Summit County, 2006-2014




         64.    Table 18 and Table 19 summarize the transactions flagged based
   on the Maximum              Dosage Units Monthly Threshold Approach in
   Cuyahoga and Summit Counties.




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   Table 18 Maximum             Dosage Units Monthly Threshold Flagged Transactions
   Attributed to Manufacturer Defendants, Cuyahoga County, 2006-2014




   Table 19 Maximum             Dosage Units Monthly Threshold Flagged Transactions
   Attributed to Manufacturer Defendants, Summit County, 2006-2014




         E.     Maximum Daily Dosage Units
         65.    I identify transactions that cause the number of dosage units to a
   Pharmacy in a day attributable to a Manufacturer Defendant to exceed a
                                             33
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   number of dosage units that varies by drug type and within some drug types
   by formulation.14 I have been asked by Counsel to assume that the
   Manufacturer did not effectively investigate the flagged transactions and so
   every subsequent transaction of that drug code is also flagged because the
   Distributor had an unfulfilled obligation to detect and investigate the first
   flagged transaction.

          66.    Figure 10 illustrates total opioid transactions into Cuyahoga
   County from ARCOS Data for 2006 to 2014 I attribute to a Manufacturer
   Defendant and the transactions flagged by the Maximum Daily Dosage Units
   Threshold methodology. This methodology flags
                                                                              of drug
   weight shipped into Cuyahoga County.

   Figure 10 Maximum Daily Dosage Units Flagged Transactions Attributed to Manufacturer
   Defendants, Cuyahoga County, 2006-2014




   14
    Maximum Daily Dosage Units used as specified in
   CAH_MDLPRIORPRO_DEA07_01384160
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          67.    Figure 11 illustrates total opioid transactions into Summit
   County from ARCOS Data for 2006 to 2014 I attribute to a Manufacturer
   Defendant and the transactions flagged by the Maximum Daily Dosage Units
   Threshold methodology. This methodology flags
                                                                              of drug
   weight shipped into Summit County.

   Figure 11 Maximum Daily Dosage Units Flagged Transactions Attributed to Manufacturer
   Defendants, Summit County, 2006-2014




          68.    Table 20 and Table 21 summarize the transactions flagged based
   on the Maximum Daily Dosage Units Threshold Approach in Cuyahoga and
   Summit Counties.




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   Table 20 Maximum Daily Dosage Units Threshold Flagged Transactions Attributed to
   Manufacturer Defendants in Cuyahoga County, 2006-2014




   Table 21 Maximum Daily Dosage Units Threshold Flagged Transactions Attributed to
   Manufacturer Defendants, Summit County, 2006-2014




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   VI.   Conclusion
         69.    In this supplement to McCann Report, I explained how the
   ARCOS data, NDC numbers and chargeback data can be used to attribute a
   transaction with a Dispenser in Cuyahoga County and Summit County to a
   Manufacturer Defendant.

         70.    I reported the results of applying the non-exhaustive set of
   algorithms in the McCann Report for flagging transactions to the transactions
   attributable to Manufacturer Defendants.

         71.    I continue to review documents and gather information and
   reserve the right to update my analysis and opinions based upon that further
   review of documents and based on any new information - including possibly
   reports of other experts - I may receive.




   Craig J. McCann, Ph.D., CFA




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   Appendix 1 Labelers, Cuyahoga County and Summit County, ARCOS
                                Data, 2006-2014

Rank Labeler Name                                  MME        Perecent   Cumulative




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Rank Labeler Name                                  MME        Perecent   Cumulative
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Rank Labeler Name                                  MME        Perecent   Cumulative




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Rank Labeler Name                                  MME        Perecent   Cumulative




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                           Appendix 2 Chargeback Data

         1.    InSys Therapeutics

              a. INSYS-MDL-015002410

         2.    Janssen

              a. JAN-MS-02963355

              b. JAN-MS-02963411

              c. JAN-MS_03108830

              d. JAN-MS_ 05433886

              e. JAN-MS_ 05433889

         3.    Mallinckrodt

              a. MNK-T1_0007965587

              b. MNK-T1_0007965588

         4.    Endo Pharmaceuticals

              a. ENDO_DATA-OPIOID_MDL-00000044 through
                 ENDO_DATA-OPIOID_MDL-00000084

         5.    Par Pharmaceuticals

              a. PAR_OPIOID_MDL_0001596821 through
                 PAR_OPIOID_MDL_0001596826

         6.    Qualitest

              a. PAR_OPIOID_MDL_0002016639 through
                 PAR_OPIOID_MDL_0002016786


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         7.     Purdue

               a. PPLP004418578 through PPLP004422150

         8.     Actavis

               a. Acquired_Actavis_01996162 through
                 Acquired_Actavis_01996173

               b. Acquired_Actavis_02001331

               c. Acquired_Actavis_02001522

         9.     Allergan

               a. ALLERGAN_MDL_03255576_0001 through
                 ALLERGAN_MDL_03255576_0010

               b. ALLERGAN_MDL_03303052_001 through
                 ALLERGAN_MDL_03303052_003

               c. ALLERGAN_MDL_03303053_001 through
                 ALLERGAN_MDL_03303053_050

               d. ALLERGAN_MDL_03729472

               e. ALLERGAN_MDL_03729468

               f. ALLERGAN_MDL_03729469

               g. ALLERGAN_MDL_03732865

         10.    Teva

               a. TEVA_MDL_A_02401118

               b. TEVA_MDL_A_02416193

               c. TEVA_MDL_A_02419960
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              d. TEVA_MDL_A_02419963

              e. TEVA_MDL_A_02416194 through
                 TEVA_MDL_A_02416204

              f. TEVA_MDL_A_02419961

              g. TEVA_MDL_A_02419964 through
                 TEVA_MDL_A_02419969

              h. TEVA_MDL_A_07869902

              i. TEVA_MDL_A_07876854

              j. TEVA_MDL_A_07880643

              k. TEVA_MDL_A_07885150

              l. TEVA_MDL_A_07889185

              m. TEVA_MDL_A_07889289

              n. TEVA_MDL_A_07901020

              o. TEVA_MDL_A_07907289

              p. TEVA_MDL_A_07914958

              q. TEVA_MDL_A_07921677

              r. TEVA_MDL_A_07921926 through
                 TEVA_MDL_A_07921928

              s. TEVA_MDL_A_07928169

              t. TEVA_MDL_A_08637273 through
                 TEVA_MDL_A_08637277


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